Case 2:14-cv-00992-DEW-KK Document 294 Filed 07/01/20 Page 1 of 1 PageID #: 10784




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION



  MICHAEL ASHFORD                                     CIVIL ACTION NO. 2:14-cv-992

  VERSUS                                              JUDGE DONALD E. WALTER

  AEROFRAME SERVICES, LLC, ET AL.                     MAGISTRATE JUDGE KAY


                                              ORDER

         For the reasons stated in the Report and Recommendation of the Magistrate Judge

  previously filed herein, after an independent review of the record, a de novo determination of the

  issues, consideration of the objections filed, and having determined that the findings are correct

  under applicable law,

         IT IS ORDERED that the Motion for Sanctions [doc. 159] filed by Aviation Technical

  Services, Inc. be DENIED as to Michael Ashford, Joseph P. Williams, Sr., Richard B. Williams,

  and Richard T. Haik, Jr., and GRANTED as to Somer Brown, Aeroframe Services, LLC, Roger

  Porter, and Thomas A. Filo.


         Shreveport, Louisiana, this 1st day of July, 2020.




                                               __________________________________
                                               DONALD E. WALTER
                                               UNITED STATES DISTRICT JUDGE
